          Stamboulieh Law, PLLC
P.O. Box 428, Olive Branch, MS 38654 | (601) 852-3440 | stephen@sdslaw.us



                                       July 5, 2023
Michael E. Gans, Clerk of Court
U.S. Court of Appeals for the Eighth Circuit
Thomas F. Eagleton Courthouse
111 South 10th Street
St. Louis, MO 63102

       Re:    Morehouse Enterprises, LLC, et al. v. Bureau of ATF, et al., Case No. 22-2812

Dear Mr. Gans:
        On June 30, 2023, the U.S. District Court for the Northern District of Texas
granted summary judgment in favor of the plaintiffs in VanDerStok, et al. v. Garland, et
al., 4:22-cv-00691-O (N.D.TX), and vacated the Final Rule, “conclud[ing] that the
ATF has clearly and without question acted in excess of its statutory authority….” Id.,
ECF #227 at 23 (attached).
       First, with respect to incomplete and unfinished firearm frames or receivers,
the VanDerStok court concluded that the Final Rule unlawfully “expands ATF’s
authority over parts that may be ‘readily converted’ into frames and receivers,”
whereas “Congress limited ATF’s authority to ‘frame and receivers’ as such.” Op. at
24. The court made clear that “[a] part that has yet to be completed or converted to
function as frame or receiver is not a frame or receiver.” Id. at 29. Cf. Opening Brief
at 20-23.
       Second, with respect to weapon parts kits, the VanDerStok court found that the
Rule’s “attempt to regulate weapon parts kits lacks statutory support,” rejecting ATF’s
claim that such kits can be “readily converted” into firearms, explaining that, under
the statutory definition of “firearm,” “a firearm is first and foremost a weapon,”
whereas “weapon parts [] are not ‘weapons’….” Op. at 25, 34. Cf. Opening Brief at
17. The VanDerStok court then acknowledged that Congress “could have included
firearm parts that ‘may be readily converted’ to frames or receivers, as it did with
‘weapons’ that ‘may readily be converted’ to fire a projectile,” but noted that
“Congress did not” do so. Op. at 27, 33-34. See Opening Brief at 15-16 (explaining



   Appellate Case: 22-2812      Page: 1     Date Filed: 07/05/2023 Entry ID: 5292592
the term “readily” applies only where it appears in the statute). Noting that only
“specific weapon parts” are covered under the GCA – “the frame or receiver of any
such weapon” – the VanDerStok Court noted that, “when Congress sought to regulate
parts of weapons, it did so meticulously.” Op. at 30.
       At bottom, the VanDerStok court vacated the Rule, because “illegitimate agency
action is void ab initio and therefore cannot be remanded as there is nothing for the
agency to justify.” Op. at 36-37.
                                        Respectfully submitted,
                                        /s/ Stephen D. Stamboulieh
                                        Stephen D. Stamboulieh

cc: All counsel of record (CM/ECF)




   Appellate Case: 22-2812    Page: 2     Date Filed: 07/05/2023 Entry ID: 5292592
